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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    FRANCINE ZEPEDA, Bar #91175
     Assistant Federal Defender
3    PEGGY SASSO, Bar #228906
     Assistant Federal Defender
4    Designated Counsel for Service
     2300 Tulare Street, Suite 330
5    Fresno, California 93721-2226
     Telephone: (559) 487-5561
6
     Attorneys for Defendant
7    GREGORY BURNS SNYDER
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             No. 1:10-cr-00080 AWI
                                           )
12                 Plaintiff,              )             STIPULATION TO CONTINUE
                                           )             SENTENCING SCHEDULE AND HEARING;
13     v.                                  )             ORDER
                                           )
14   GREGORY BURNS SNYDER,                 )             DATE: September 10, 2012
                                           )             TIME: 10:00 a.m.
15                 Defendant.              )             JUDGE: Hon. Anthony W. Ishii
     _____________________________________ )
16
17             IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
18   counsel, that the informal objections in the above-captioned matter be continued to August 13, 2012,
19   formal objections be continued to August 27, 2012 and the sentencing hearing now set for August 20,
20   2012, may be continued to September 10, 2012 at 10:00 a.m.
21             This continuance is at the request of counsel for defendant. The defendant is in custody and has
22   not been transported from Nevada. Counsel believes it will take about two to three weeks for Mr. Snyder
23   to be transported. At that point counsel will be able to review the presentence investigation report with
24   him and prepare objections according to the above schedule.
25   ///
26   ///
27   ///
28   ///
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1                                                                   BENJAMIN B. WAGNER
                                                                    United States Attorney
2
     DATED: July 16, 2012                                 By:       /s/ Laurel J. Montoya
3                                                                   LAUREL J. MONTOYA
                                                                    Assistant United States Attorney
4                                                                   Attorney for Plaintiff
5
6                                                                   DANIEL J. BRODERICK
                                                                    Federal Defender
7
     DATED: July 16, 2012                                 By:       /s/ Francine Zepeda
8                                                                   FRANCINE ZEPEDA
                                                                    Assistant Federal Defender
9                                                                   Attorneys for Defendant
                                                                    GREGORY B. SNYDER
10
11
12
13
14                                                        ORDER
15
16   IT IS SO ORDERED.
17
     Dated:     July 16, 2012
18   0m8i78                                                          CHIEF UNITED STATES DISTRICT JUDGE
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27
28
     Snyder - Stipulation and Order to File
     Informal/Formal Objections and Continue Sentencing         2
